" ~` ?- /12/18 mo
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When recorded mail to;

Argeni Mortgage Company, LLC
3 Park Plaza. 19th Ftoor
irvine CA 92'614

.'LF 51 tioo£i
Loan Number.

This form was prepared by Argent Morigage Company. LLC
Address: 3 Park Plaza. 10th F|oor, lrvine, CA 92614 Tel. No.: _

ASS|GNMENT OF MORTGAGE
KNOW ALL MEN BY THESE PRESENTS That Argent Mortgage Company, LLC
organized and existing under the laws of the State oi De|aware, party ot the first part, for value received. has granted, bargained sotd.
assigned. lrans(erred and set overl and by these presents does grant . se||. assign, transfer and set over

unto¥'

 

    

organized and existing under the laws ot . party of the second part, its

successors and assigns, acertain indentqu ngage dated the 26th dayo Septemher. 2006.

made by Loan TY'\,\ST “-\[¢
JAMEstleiNG,Jr_ £)Y~O§qa,{[]@go§ \(jt (jt~'§ 'W\Y(}»l()\ \fi QS‘Y\\ \1/{\['(11’|(£
ti\ts 2001 t>\t)\tl, MEch t\`\di final

¥<S§Gtiociton OlS TYUSW`

to it securing the payment of one promissory note therein described for the sum of one hundred four thousand five hundred fifty
and °°'1°° Dol|ars ($ 104 55000 ) and all its rights. title and interest in and to the premises

situated in the county of lAPORTE . State of |ndiana, and described in said mortgage as tottows. to-wit

"EXH|B|T A ATTACHED HERETO AND MADE A PART HEREOF"

which said mortgage is recorded in the office of the Recorder of LAPORTE County,
State of |ndiana_ in Book No. f , at Page - as Document No. Zmp/`P\' I7(?(9L{
Togelher with the said note therein described and the money due or to grow due thereon, with the interest 8.950%

TO HAVE AND TO HOLD the same unto the said party of the second part, its successors and assigns, forever, subject only
to the provisions in the said indenture of mortgage contained

lN WlTNESS WHEREOF, the party of the first part has caused this instrument to be executed in its name by its agent and its
corporate seal lo be hereunto affixed this 10/03/2006.
Argent ortgage Company, LLC

@_s)time’nez'- AQW
t

State of illinois
County of Cook

 

By

 

 

Cln 10103»'2006 before me. Ava K¢ Gaitatzis
personally appeared Luis Jimenez
personally known to me (or proved to me on the basis of satistactory evidenoe) to be the person(s) whose name(s) is/are subscribed
to the within instrument and acknowledged to me that he/she/they executed the same in his/herliheir authorized capacit ' and that

\ ' é )
Oi-'i-'luAi.si.;/n, ` <`-L* €_/( \-`

Ava K Gaitalzis \"M Gaitatzl
N(¥TARY Plill| l(` STA'H_` (`tl-` tLl. lNO|S
Mv (`nmrni~sinn t \pirrs N¢vv 13_ m

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instrument

      
       

   

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7504N| (°2»2005) Rlv.OJ

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BORROWER NAME: WlRS|NG

LOA~ ~uMBER: _

EXH|B|T A' LEGAL DESCR|PTioN
EXH|B|T A A`ITACHED HERETO AND MADE A PART HEREOFZ

 

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- '- = . .CaSe 18-30134-hcd Doc 8-1 Filed 02/12/18 Page 3 of 30
` ` \/ \/

,, .. ,_,,,.__Anpsaei)§e _

LOT 6 IN BLOCK 6 IN VlLLAGE GREEN SUBD[V`|SIO`N FIRST ADD]TION IN THE CITY OF M]CHIGAN
ClTY, lNDIANA AS RECORDED lN PLATE BOOK ll PAGE 152 [N THE OFI"ICE OF THE RECORDER
OF LAPORTE COUN'I'Y, lNDIANA.

 

SUBJECT 'I`O COVENA`NTS, COND]TIONS, RESTRICT!ONS AND EASEMENTS OF RECORD AND
SUBJECT TO A.LL ZONING ORDINANCES.

PARCEL NUMBER_

COMMONLY KNOW'N AS: 3517 LEXINGTON ROAD, MICHIGAN CITY, lNDlANA 46360

.v

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imm--
FlXED RATE NOTE

TH|S LOAN HAS A PREPAYMENT PENALTY PROVISION.

September 26. 2006 Roiting Meadows lL
room ich isbell

3517 LEX|NGTON RD.. MlCHiGAN C"Y, lN 48330
erva¢m==)

1. BORROWER'S PROM|SE TO PAY »- m~ .
in return for a loan that i have received, l promise to pay U.S. $ §104.550.00 little amount is called "principat"), plus

interestl to the order of the Lender. The i.ender la Argent Mortgage Cornpany. LLC .

l understand that the Londer may transfer this Note. The Lender or anyone who takes this Note by transfer and who is
entitled to receive payments under this Note is called the 'Note Holder.ll

2. lNTEREST

interest will be charged on unpaid principal until the full amount of principal has been paid. l wEl pay interest at a
yearly rate of 8.950 %.

The interest rate required by this Section 2 is the rate l will pay before and alter any default described in Section B(B)
of this Note.

3. PAYMEN?S
(A) Time and Piaca of Payments
l will pay principal and interest by making payments every monlh.
l will make my monthly payments on the first day of each month beginning on Novamber 1, 2006.
l w'n'l make these payments every month until t have paid ali of the principal and interest and any other charges
described below that l may owe under this Note. My monthly payments will be applied to interest before principal. lf,
on October 1, 2036. l still owe amounts under this Noto. | will pay those amounts in full on that date. which ls
called the °Maturity Dato."

l will make my monthly payments at: 505 City Farkway Woot, Sui'ta 100. Orange. CA 92868
or at a different place if required by the Note Holder.

(Bi Amount of Month|y Paymonts
My monthly payments will be in the amount cl U.S. $837.48.

4. BQRROWER'S RIGHT TO PREPA¥
l may repay this Nole at any time as provided for in this paragraph if within the first 3.00 year(s) from the date of
execution of the Mortgage, Deed of Trust or Securtty Deed which accrues this Note, t prepay in any 12 month period
an amount exceeding 20% of the original principal balance under this Note, l will pay a prepayment charge to Note
Holder equal to six tB) months advance interest on the amount prepaid in excess ot 20% of the original principal
balance under this Note.Thts prepayth charge will not exceed 2% of the original loan amount.

5. LOAN CHARGES

If a taw, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or
other loan charges collected or to be collected in connection wiU1 this loan exceed the permitted ltmits, then; (i) any
such loan charged shall be reduced by the amount necessary to reduce the charge to the permitted llrnil; and tE) any
sums already collected from me which owed permitted limits will be refunded to me. The Nota Holder may choose
to make this refund by reducing the principal l owe timer this Note or by making a direct payment to me. if a refund
reduces principa|, the reduction will be treated as a partial prepayment

6. BORROWER'S FAILURE TO PAY AS REDUIRED

(A) Lato Chargea for overdue payments
if the Note l-toider has not received the full amount of any monthly payment by the end of fifteen
calendar days after the date it is due. l will pay a late charge to the Note Hdder.
The amount of the charge will be B.tllltl % of my overdue payment of principal and interest
l will pay thin late charge promptly but only once on each late payment
(B) Dofauit
tf l do not pay the full amount of each monthly payment on the date il is due, l will be in default
tC) Notioo of Default
it l am in default the Note Hotder may send me a written notice telling me that if l do not pay the overdue amount by a
certain date, the Nota Holder may require me to pay immediately the full amount cf principal which has not been paid
and ali the interest that l owe on that amount That date must be at least 30 days after the date on which the notice is
delivered or mailed me. l
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war ~o. _
(D) No Waiver by Note Holder

Even if, at a time when l arn in defaull, the Note Holder does not requ'u'e me to pay immediately in full as described
above, the Note Holder will still have the right to do so litem ln default et a later timo.

(E) Payment of Note Holder‘s Costs and Expenees

lf the Note Holder has required me to pay lmmeriately in full as descer above. the Note Holder will have the right to
be paid back by me for all its costs and expenses in enforcing this Note to the extent not pmhibited by applicable taw.

Those expenses lnclude. for example. reasonable attorneys fees.

       

7. GNING OF NDT|CES
Untsss applicable law requires a different method. any notice that must be given to rne under this Note will be given by
delivering it or by mailing it by first class road lo me at the Property Address above or at a different address ill give the
Note Holder a notice of my different address
Any notice that must be given to the Note l-iolder under this Note will be given by mailing lt by first class mail to the
Note Hoider at the address stated in Section 3(A) above or at a different address ll l am given a notice of that dllferent
address

8. OBLIGATlCNS OF PERSONS UNDER THlS NDTE
lfmore than one person signs this Note, each person is fully and personally obligated to keep ali of the promises made
in this Note, inducing the promise tc pay the ltd amount owed. Arry person whole a guarantor, surety or endorser of
this Note is also obligated to do these things. Any person who takes over these obligations. including the obligations of
a guarantor, eurety, or endorser of this Nole. ls also obligated to keep all of the promises made in this Note. The Note
l-iolder may enforce its rights under this Note against each person individually or against all of us together. This means
thatanyoneofusmayberequired toPay ai|oftheamounl,sowedrmderthis Note.

9. WA|VERS
i and any other person who has obligations under this Note waive the rights of presentment and notice of dishonor.
'Presentmenl" means the right to require the Note HoMer to demand payment of amounts due. 'Notice of Dishonor'
means the right to require the Note Holdor to give notice loether persons that amounts due have not been paid.

10. UN|FGRM SEGURED NOTE
Thls Note ls a uniform instrument with limited variations in someiurisdtctions. in addition to the protections given to the
Note Hoider wider this Note. a Mortgoge. Deed of Trust, or Security Deed (the “Seourity lnstrument"}, dated the same
date as this Note. protects the Note Holdar from possible losses which might result if t do not keep promises that l
make in this Note. That Security instrument describes how and under what conditions l may be required to make
immediate payment in full of all amounts l owe under this Note. Some of those conditions are described as foilows:
Trensfer of the Property or a Berreflr:lat interest ln Borrower. lf all or any part of the Property or any interest in it
is sold or transferred (or il a beneficial interest in Bcrrower is sold or transferred and Borrower is not a natural person)
without Lender's prior written consent, Lender may st |ts opbon, morrire immediate payment in full of all sums secured
by this Secun'ty lnstrument. However, this option shall not be exercised by Lender if prohibited by federal law as of the

date of this Security instrument
if the i.ender exercises this optlon. Lender shall give Borrower notice of acceleration The notice shall provide a

period of not less than 30 days from the date the notice is delivered or mailed within which Borrower must pay all sums
secured by this Security instrument if Borrower fails to pay these sums prior to the expiration of this period. Lender
may invoke any remedies permitted by this Securily instrument without further notice or demand on Borro\ver.

WITNESS THE HAND(S} AND SEAL(S) OF THE UNDERS|GNED

Seol)

Hl'l'iOr:UT REGOURSE
sARGENT MC|R /"‘- E COMPANY LLC

     
 

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RECOR.`DING REQUES'I'ED BY:
Ba,nk of Amerim, N.A.

400 Na,tional Way

Simi Valley, CA 93065
CA6-919-02'46

Loan#:_

 

 

lSpa.ce Above'l‘h.is LineForReoordingDa.ta]___.__
LOAN MOD[FICATION AGREELM»¥T

Borrower(e) end Mortgagor(a) (“I," “my,“ or "me"): JAMES L W£RSING
Lender or Servioer ("Lender"): Ba.nk of Ameriea., N.A.
Da.te of mortgage deed of tnist:, or security deed (the “Morbgege“) and Note (t.he “Note"):
Sept.ember 30, 2005
Loan Numbe `
Remrda.tion lniormation: Original Mortga.ge recorded on the 6‘° of chher, 2006in Book No. N/A Pag'e
No. N/A as Document No. 2006R-17664 in the OHicial Reoorda of LA PORTE CounQ/, in the State of
Indin.na. '
Properiy Acldress: 3517 LEXING'ION R.D MICHIGAN CITY, IN 46360 (the "Properly")
(See attached Exhibit. A for legal Description)

Subject to the conditions set forth below, this Loan Modih'm.tion Agreement (“Agreement”) amends and
supplements (1) the Mortgage on the Property and (2) the Note seemed by the Mortgage. 'l‘he Mortga.ge
and Note together, a.s they may previously have been amended, are referred bo as the “Loan Docnments."
Any capitalized term used in this Agreement, but not defined below, has the meaning given to it in the
Loa.n Docnments.

Lender and I agree as follows:

1. My Representationa end Covenants. I oertify, represent to Lender, oovenant, and agree:
A. The Pmpert;y ia a. maidential property and is occupied
B. The Properly has not been condemned

C. There has been no impermissible change in the ownership of the Pr~operty since l signed the
Loan Documentn. A permissible change would be any transfer that Lender is required by law to
ello\v, such as a transfer to add or remove a family member, spouse or downs partner of the
undersigned in the event of a death, divoroe, or marriage

Dl All documents and information I have provided to 'Lender in connection with this Agreement,
including the documents and infonna.ta`on regarding my eligibility for this loan modi£ea£on, are
true and correct

a Aelmowledgements end Preconditione to Modiioa.tion. This Agreement. will take effect on the later
of the Modiiioation Et`fectiye Date or the date lender signs this Agreement or, if I am a debtor in a
bankruptcy case, the date the Ba.n|u'upboy Court approves this Loa.n Modifionh'on Agreement, but
only if I meet all of the following requirements:

A. I make each of the payments dmcribed-in the 'l‘ria.l Period Plen (“'I`PP") agreement on or before
the date each payment is due.

B. 1 return to Lender an executed and notarized copy of this A_greement on August 1, 2012 or
prior to (t.he "Modi§oatlon EfEective Date”).

LOAN MODIF¢CAT|ON ABREBAENT (Revlsad--May 201 1)
One- to Four-Untt Prope\‘ltes

 
 

MOD 001 695

 

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C. The representations and warranties I made in Section 1 of this Agreement, titled, "My
Represents.tions and Cove.nan " must be true and correct on the Modifica,t'ion Efiiective Da.te,
and each of die terms set forth in the "Acknowiedgemenv and Preconditions to Modiiication”
must be satisfied before the Modi£ce.tion Effective Date.

(i) li prior to the Modiiicetion Efmcta`ve Date, Lender determines thatl have not met any of
the Preoonditions, the Loan Documents will not be modified and lender will have a.ll of
the rights and remedies provided by the unmodified terms of the Loa,n Documents
(subject to limitations imposed by applicable banln'uptq' law if I am a debtor in a
bankruptcy case or obtained a. discharge of my debt under the Loen Documents).

(i) If this Agreement does not become effective, my Loa.n will_continue to be serviced under
the unmodified terms of the Losn Documenta. If this Agreement becomes effective but
lender subsequentb' discovers any of the Preconditions were not met, Lender may void
the modiiice.tion and the Loan will revert to the nnmodiied terms of the I.oa.n Dccuments.

3. The Modii`ica.tion.
A. The Ma,turity Da.te will be Octoher 1, 2038. (The “Scheduled Matm‘il;y Da,te").

B. The loan terms set forth in thisAgreernent shall supersede any contrary provisions in the Loan
Dccnments.

C. The new principal balance of my Note will be $1`41,843.65 (the "New Pri.ncipa.l Bela.nce"). The
New Princips.l Ba.la.nce of my Note will include amounts and arrearages that are past due as of
the Modi&ca,tion Eftective Dste (including unpaid end deferred interest has escrow advances
and other costs required to be paid by Lender, but excluding unpaid late charges, collectively,
"Unpa.id Amounts”) in the amount of $39,489.79. Thia Unpaid Amount does not include
interest in the amount of $1,133.01 which will he permanently forgiven. All impa.id late fees will
be waived I understand that by adding the Unpaid Amounts to the outstanding principal
balnnoe, with die exception of those Deferred Amounts as delined below, die added Unpaid
Amounts will accrue interest based on the interest rate in effect from time to time under this
Ag'reement. 'l'his means interest may now accrue on a portion of the unpaid amount which is
comprised of unpaid interest added to the outstanding principal balance, which would not
happen without this Agreement.

A total of 328,?53.65 of the New Principa.l Bala.uce shall be deferred (the “Deferred Principal
Ba.lance"). The Deferred Prinoipa.l Balance will be treated as a. non-interest bearing principal
forbearance and I will not pay interest or make montth payments on this amount The Nc\v
Principa.l Balanoe less the Deferred Priucipal Balanoe shell be referred to as the “New interest
Beering Principd Ba.lance" and is in the amount of $113,0$0.00. As set forth below, interest will
begin to accrue on the New lnterestBea.rlng Principal Balance on the Modiiice,tion Ed’ech‘ve
Date My first new monthly payment on the New Interest-Beaxing Principal Ba.lance will be as
set forth below.

My new interest rate and payment schedule is as follows:

 

Yee.rs Interest lnterest Monthly Eeti.meted Totul Payment Nnmber

 

Ra.te B.ate Priuoipa.l Monthly Monthly Begins On of
Change and Intezest anrow Payment' Monthly
Dato Payment Peyment Paymenta
Amo\rnt Amount*
1-25 4.250% 7/1/2012 $623.32 $308.49 393181 8/1/20]2 291
May adjust May
periodically adjust
periodically

 

 

 

 

 

 

 

 

 

 

*‘l‘he escrow payments may be adjusted periodically in accordance with applicable la.w and
therefore my total monthly payment may change accordingly

IF MY LOAN HAS A BALLOON BALANCE AT THE SCHEDULED MATURITY DA’I'E,
LENDER H.AS NO OBI.§IGATION TO REFINANCE THIS LOAN AT THE E`ND OF ITS TERM.
THEREFOR.E, I MAY HAVE TO R.EPAY THIS`IDAN OUT OF ASSETS I OWN OR l MAY
HAVE TO FIND ANOTHER LENDER WILLING 'I‘O R.EF]NANCE THIS LOAN. ASSUNH.NG
TH]S LENDER. OR ANUI‘HER LENDER REFINANCES 'I‘BIS LOAN AT MATURJTY, I WI.LL
PRDBABLY BE CHARGED D\ITER`EST AT THE MARKET RATES PREVAILING AT THAT

LOAN MODIF|CATZON AGREEHENT (Revhed~'-May 201 1)
One- to Four-Un'! Propertles (pege 3 cfs pages)

"~ l - ' Case 18-30134-hcd Doc 8-1 Filed 02/12/18 PageSof 30

TIMEANDSUCHRATESNLAYBE}HGEERTHANTHER¢TERESTRATEPAIDONTHIS
LOAN. l MAY ALSO H.AVE 'IO PAY SOME OR ALL OI" THE CLOSING COSTS NOBMALLY
ASSOCIA'I'ED WITH A NEW MORTGAGE LOAN.

THE AMOUNT OF THE FINAL PA¥MENT ON THIS IDAN, A$UNHNG ALL SCHBDULED
PRINCIPAL PAYMENTS ARE MADE IN ACOORDANCE WITH THIS MODIFICATION
AGR.EEMENT, IS $29,3'76.97.

D. l will be in defaultif I do not comply with the terms of the Lca.n Documents, as modi§ed by this
Agreement.

E. If I make a partial prepayment of Principal, Lender will apply that partial prepayment to the New
lnterest Bearing Principal Ba.lance. However, if the partial prepayment amount equals or
exceeds the New lateral Beariug Principsl Balanoe, lender will instead apply that partial
prepayment as follows:

(1) to the Deferned Principal Balsnoe, if any, and
(2) then to the Ne\v interest Bea.ring Prinoipal Ba.lsnos.

4. Additional Agreements.

A. If more than one Bormwer or Mortgagor is executing this dooument, each is referred to as “l,
“nu,v,” or “me." In this Agreement, words signifying the singular (such as "l”) shall include the
plural (such as “we") and vice versa where appropriate

B~. All persons who signed the Losn Docuxnenta or their authorized representative(s) have signed
this Ag'reement, unless (1) a borrower or co-borrower ls dewesed,' (2) the borrower and oo-
borrower are divoer and the property has been transtened to one spouse in the divorce
decree, the spouse who no longer has an interest in the propaty need not sign this Ag'reement
(although the non-signing spouse may continue to be held liable for the oblip.tion under the
Loan Documents); or (3) bender has waived this requirement in writing.

C. This Agreement; shall supersede the terms of any modi&cation, forbearauoe, trial period plan or
other workout plan thatl previously entered into with Lender.

D. Except as modified by this Agreemeut, I will comply, with all oovenants, agreements, and
requirements of the Loan Documsntn, including my agreement to make all payments of taxes,
insurance premiums, assessments, Escrow Items, impounds, and all other payments the
amount of which may change periodioclhr over the term of my Losn.

 

MEHL

If I previously filed for bankruptcy and obtained a discharge of my debt under the loan
Documents, then notwithstanding any other provision in this Agreement to the oontra!y,
Lender speci&cally agrees that:

(i) This Agreement is non-recourse, and l will not have any personal liability for any debt
under the Loan Documents or pursuant to this Agreement.

(ii) lfl do not make the payments required under this Agreement, Lender will have no right
to collect those payments or any other debt under the Loan Documents or this Agreement from
me as a personal liability lender sole recourse will be to enforce its security interest in the
Propsrty pursuant to the Mortgage through foreclosure or other in rem remedies, and I will not
hare any personal liability or obligation to pay for any remaining deficiency or other amounts
owing under the Loa.n Documemts and this Agreement that are not satisfied from the proweds
of any sale or other disposition`of the Property.

(iii) This is not a reaiiinna.tion agreement and l am not reaflirming any debt under the Loan
Documents.

(iv) ln the event of any conflict between the provisions of this paragraph 4(]?.) and any other
provision of this Agreement, the provisions of this paragraph d(E) shall control Without
limiting the fcregoing, no other provision of this Agreement (including, without limitation,
paragraphs 4(D), 4(F), 4(G), or 4(K)) shall be construed as readirmlng', or imposing any
personal liability on me for, any debt under the Loan Doouments or this Agreement.

F. 'Die Loau Documents, as modified by this Agreement., are duly vslid, binding agreements and
enforceable in accordance with their terms and are hereby reaffirmed All tmnsand provisions

LOAN MGDlFtcATlON AGREEI»!ENT(Revised-May 2011)
0\':¢.L lo Four'Urn'l Prope¢tlee ‘ (page 4 d 8 poges)

 

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of the Loa.n Documents, except ss expressly modified by this Agreemsnt, remain in full force
and effect; nothing in this Agreement shall be understood or construed to be a. satisfaction or
release in whole or in part of the obligations contained in the Loan Documents; and that except
as otherwise specifically provided in, and as expressly modified by, this Ag'neement, Lender and
l will be bound by, and will compb with, all of the terms and conditions of the loan Doqiments.

G. As of the Modi£ca.iion Effective Do,te, notwidists.nding any other provision of the Losn
Documents, if all or nw part of the Prcperty or any interest in it is sold or transferred without
lenders prior written consent lender may, a.t its option, require immediate payment in full of
all sums secured by the Mortga.ge. l.ender shall not exercise this option if state or federal law,
rules or regulations prohibit the exercise of such option as of the date of such sole or transfer.
If lender exercises this option, Lender shall give me notice of amelera.tion. The notice shall
provide s period of not less than 30 days from the date the notice is delivered or mailed within
whiclilmustpayall sums secured bytheMortgage. lflfa.iltopa.ythesesumspriortothe
expiration of this period, Lender may invoke any remedies permitted by the Mortgs.ga without
further notice or demand on mc.

H. As of the Modiiication Effective Date, lender will only allow the transter and assumption of the
Loan, including this Agreement, to a transferee of my property as permitted under the Gam St.
Germi\in Aot, 12 U.S.C. Section 1701§-3. A buyer or transferee of the Pmperw will not be
permitted under any other circumstance to assume the Loa.n. Exce.pt ss noted herein, this
Agreement may not he assigned to, or assumed by, a buyer or transferee of the ProperW.

I. As of the Modiiicstion Et`fective Date, if any provision in the Note or in any addendum or
amendment in the Note allowed for the assessment of a penalty for full or partial prepayment of
the Note, such provision is null and void.

J. I will cooperate fully with Lender in obtaining any title endorsement(s), or similar title
insurance pioduct(s), and/or subordination sgreement(s) that ore necessary or required by
Lender's procedures to ensure that the mcdliied mortgage Loa.n is in first~lien position and/or
is fully enforceable upon modification Under any circumstance and not wiiiistanding anything
else to the contrary in this Agreement, if lender does not receive such title endorsement(s),
title insurance product(s), and/or subordination agreement(s), the terms of this Agreement will
not become e&`ective and the Agreement will he null and void. l authorize Lender tv attach nn
Exhihit A to this Agieement that will include a Legel Descripiinn, recording information of the
original security histz'ument, and any other relevant information required by a County Clerk's
OEioe to allow for recording

K. If an error is detected after execution of this Agreement, l will execute such other documents ss
may be reasonably necessary to (1) oonsununate the terms and conditions of this Agreement or
(2) correct the terms and conditions of this Agreement. I understand that, under such
circimstances, I will sign a correch Agreement or a letter agreement containing the
correction At Lender’s cption, this Ag'reement will be void and of no legal effect upon notice of
such errci‘. lfI do not sign any such corrective dommenta.lion, the terms of the original Loan
Docunients shall continue in full torce and edect, such terms will not be modified by this
Agmement, and I will not be eligible for alcan modification

L. I acknowledge that any principal forgiveness shall be reported to the Internal Revenue Servioe
and may have tax consequences l understand thatl maywant to seek the advice ofa. tax
professional

M. Mortgage Electronic Regisn'a.tion Systems, lno (“MERS") is a separate corporation organized
and existing under the laws of Delawa.ie and has an address and telephone number of P.O. Box
MS, Flint, MI 48501-2026, (888) 679'MERS. In cases where the loan has been registered with
MERS who has only legal title to the interests granted by the borrower in the mortgage and
who is acting solely as nominee for Lender and Lender's successors and assigns, MERS has
the right to exercise any or all of those interests, including but not limited to, the right to
foreclose and sell the Property', end to take a.ny.action required of lender including, but not
limited to, releasing and meeting the mortgage loan.

N. lender may collect and record personal information, including, but not limited to, my neme,
sddress, telephone number, social security number, credit score, inmme, payment histoiy,
government monitoring information and information about amount balances and activity In
addition, I understand and consent to the disclosure of my personal information and the terms
of the trial period plan and this Agreement by Lender to (1) a. state or federal government
entity, (2) any investor, insurer, guarantor or servioer that owns, insures, guarantees or
services my first lien or subordinate lien (if epplicahlc) mortgage loan(s); (3) companies that
perform support services for l.ender, and (4) anyHUD-certiiied housing counselor.

LGAN MOD|F!CAT|ON AGREEMENT (Revised-Msy 2011)
One- to Four-Unit Propeltleo mm 5 old passed

~ ‘ Case 18-30134-hcd Doc 8-1 Filed 02/12/18 Page 10 0f30

O. If any document related to the Loan Documents and/or this Agreemeut ie loot, misplaced,
misstated maconm.tely reflects the true and correct terms and conditions of the Loan as
modified, or is otherwise missing, I will comply with Lender's request to execute, acknowledge
initial, and deliver to l.ender any documentation Lender deems necessary If the Note is
replaced, Lender hereby indemnifies me against s.ny loss associated with a. demand on the
Note. I will deliver such requested documents within ten days after l receive lender’s written
request

P. The mortgage insurance premiums on my loc.n, if applicable may increase if capitalization
increases my outstanding principal balance Furtherm_ore, the date on which I may request
cancellation of mortgage insurance may change as a result of this Agreemeut.

Q. If my Loan Documents govern a home equity loan or line cf credit ss cf the Modilics.tion
Effeclive Date, I terminate my right to borrow new funds under my home equity loan or line of
credit This means that I cannot obtain additional edva.nces, and must make payments
according to this Agreement. If Lender previously terminated or suspended my right to obtain
additional advances under nw home equity loan or line of credit l confirm that I annot obtain
additional advances

R.. If l have a loan with Borrower’s Protect:ion Plan° (BPP) under my Loa.n Dccuments, then I
understand and agree that unless I notify Lender of my request to mncel BPP or my BPP has
alreadybeencsncelled or terminated lna.wordance with its terms, myBPPwillremeinon my
loan, as modided in accordance with this Agreement, and will continue to be governed by the
terms of my Borrowers Protecticn Pla.n Addendnm, which is the contract containing theterms
end conditions of BPP thatI received at closing of my original hom.

I understand that I may cancel BPP a.t any time by calling 1.886.554.2676. IfI notify the Lender
of my request to cancel BPP within sixty (60) days after the Modification Effective Date, I will
receive a refund of any BPP fees l pay with respect to any period after the Modifica.tion
Ed'ective Data. I further understand that BPP on nw Loa.n may have ahead been cancelled or
terminatedbyits terms, sucha,s ifa.uymcnthlyfeeforBPPlias remainedunpaidQO daysa.fter
its due date

For purposes cf my modided lm, the "Monthh' Payment" under the Borrowers Proteotion
Plan Addendum will he the monthly payment cf principal and/or interest as modiEed under
this Agreemeut. llli.th the exception of BPP benefits based on the outstanding balance of my
Loa.n (if eny), benefits under the BPP on my modilied loan will be calculated based on this new
Monthly Payment amount subject to the terms of die Borrowus Protection Plan Addendum.

For purposes of my modified Loan, the monthly fee for BPP, which is the monthly amount
charged to me for BPP, will be recalculamd based on the percentage set forth in my Borrowers
Protection Plan Addendum (or Borrowers Protection Plan Confinnaticn Letter, ss applicable).
I understand that the monthly fee for BPP, as a percentage of my monthly payment of
principal and/or interest as modified under this Agrcemcnt, may be higher if the monthly
payment under my modified Loan is or becomes higher then the monthly payment that was
due on my Loan prior to modification under this Agxeement The monthhv fee for BPP will be
payable at the same time and place as payments of principal and/or interest under my
modi£ed Loa.n. The “Protcotion Date" under the Bcrrowers Protection Plan Addendum, which
is the date upon which my BPP became e£t`ective, and the "Exp`lratiou Date" under the
Borrowers Protection Plen Addendurn, which is the date upon which my BPP will automatically
expire, will not be changed by this Agreement. Iwill.refer to my Borrcwers Protection Plau
Addendum for complete terms and conditions cf nw BPP.

IfI have experienwd a. qualifying event that is eligible for beueht~s under BPPrl should contact
Ba.nk cf Amen'm immediately by calling 1366.317.5]16.

S. Any optional product(s) I may have purchased after the closing of nw loan, the cost for which I
agreed to have added to my Totn.l Monthly Payment, will continue (1) in force as long as I odd
the amount due and owing to my Tolal Monthly Payment each month and (2) to be governed by
the terms of the documents the provider of the optional product delivered to me (“Governing
Documents"), unless I (1) notify the provided of the optional product ct my request to cancel or
(2) fail to pay any and all amounts payable when due, et which time the optional product may
terminate as provided under the terms of the Governing Documents. Il.'I have questions about
any optional product(s) I may have purchased, l will call Bank of Americe. at 1-800-641-5298.

LOAN MGD\F!CAT|ON ABREEMENT (Rlevlsed-May 2011)
One- to Fcur»Unit Propextles (psge 6 of 8 pagch

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IF l OBTA]NED A BANKR.UPI‘CY DISCH.ARGE Ol"' THE DEBT UNDER THE LOAN DOCUMENTS,
THIS AGREEMENT IS NON- R.ECOURSE AND I HAVE NO PEBSONAL IJABILITY, AS PROV[DED IN

 

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w the within instrument and acknowledged to me that lw/sbe/they consulted the same in hk/hcr/their authorized mpad|u(les).
and dm¢ by his/her/their signatum¢s) an the instrument the person(s), orwd{y upon heimle which the pman[a) acted, executed

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THISSECI‘ION IS FOR USE CNLYB‘YBA}'|KOFALEB.IGA, N.A.
'BANKOFAMERICA,N.A.

By= Da|a:

 

Name (Prinled)

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pemnallyklwwn to mc. (0r pmwd home on the basis ofaat|efndory evidonco)
to be the person(s) whose name(a) is/m subscribed to the within instrument and acknmhdged w mo twine/shellth executed
the same in his/her/lheir authorized capaciqr(iea), and why his/lmr/!heir signatura(s) on the instrument the poison(a), or ent£w
upon helmde the pemm(s) acted, stemmed the instrument

 

WITNBS my hand and oEEdal-aea.l. Signa.ture:

 

 

Mortgage']§lecu'oni<; Registratiop Systems, Inc. - i
Norm'nee For Bank of Amerim, N.A. i

By:

 

 

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LOAN MCDIF|CAT|DN AGREE`MENT (Revlsed-May 2011)
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Summary of Your Modiiied Mortga.ge

NEW PR.INCIPAL BALANCE. Your new loan balance is $141,843.65. Plcase refer to section 3.C. in the
Modifica.tion Ag'reoment.

DEFER.RED PRINCIPAL. Any unpaid past due amounts from the date of the original solicitation (Prior
Ot‘fer), including unpaid interest (ca.lcula.ted a.t the rate set forth in the original solicitation documents),
servicing expenses paid to third partles, and, if applicable, real estate tom and' insurance paid on your
behle have been capitalized as a non-interest bearing balloon. This amount is due at the end of the loan
term, when you relinanoe or when you sell or transfer an interest fn the properly ‘ `

NEW MORTGAGE PAYlVlEl'l'l‘. Your new modified monthly mortgage payment le $931.81 and may he
subject to increase annual[y. Plesse refer to the chart in section 3.0. in the Modilica.tion Agreemsnt for
further details This amount includes principal and interest payments on the Ne}v l_’rincipsl balance, plus _
any escrow amounts This amouut\vlll change if your escrow payment changes as well as when your
interest race changes Your total monthly payments will be due the same day well month starting on
Aug'ust 1, 3012.

lN'l‘ERES'I‘ R.ATE. The current interest rate is 8.95%. Your interest rate after modification will be 4.250%
and may be subject to increase annually thereafter to the maximum interest rato, not to sxwed 4.250%.
Please refer to the clth in section 3.6. in the Modiica,tlon Agzeement for further details

PR.INCH’AL FORGIVENESS. $1,133.01 of your cun'cnt principal balance will be forgiven when the
modification'tnkee effect on the Modifics,tion EHctive Date. This means that if a.ll conditions of the
modification are met, you will no longer owe this amount and it will be permanently subtracted from your
loan balance Refer to section 4.L. in the Modiliostion Agrecment Plea.se consult a. tax adviser to
understand any tax implications that may be associated with receiving a. modification mat provides
principal forgiveness If you do not wish to receive a. modinca,tion that includes principal forgiveness,
please coil us as we may have other modiication options available for you.

ESCROW ACOOUNT. Bank of America, NA. will maintain a.n escrow account for this loan. Therefore,
you will be responsible for payment of all unpaid servicing expenses paid to third parties on your hehslf,
beginning on the Modiica,tion -EEectivc Da.te, induding taxes and insurance In addition, such amounts
paid by the servicer in the amount of $12,404.80 have been added to your Deferrod Principal. You do not
need to pay these past due amounts sepame.

FEES. Any unpaid fees that have been charged shot the Prior ModiEca.tion Effective date will be waived
on the Modi'u'os.t:lon EEfective Date; any that have alreachl been paid will be refunded in the form of s. credit
co the modified principal balance, starting with any deferred amount when applicable .

OTHER. You agree that Bsnk of America, N.A. will hold funds, not already applied, in a. non-interest
bearing account until the modification process is complete Any amounts held m this account during the
modification process \vill be applied to any outstanding balance that you o\ve, reducing the amount that
would otherwise be added to your modiEed principal balance

REFR.ESENI'ATIONS. Pla.se read the enclosed Modificatlon Agreement carefully and make sure that
you understand it and that the statements set forth in the "My'Reprcsentetions" section are true and
accurate If you ha,ve any questions, please contact us.

SUMMARY NON-BINDING. TH`IS SUMMARY OF ¥OUR MODIFIED MOR'IGAGE (“SUMMARY") IS
NOT A LEGALLY-BINDING AGREEMENT AND IS SUFERGEDBD B'Y THE IDAN MOD]FIGATION
AND R.ELEASE AGREEMENT (“AGR.EEMENI°'). IF THER.E ARE ANY INCONSISIENCIBS
BETWEEN THIS SUMMARY AND THE AGR.EEMENT, THE AGREEMENI' CONTRDLS.

LOAN MomFlCATlON AGREEMENT (Revieed-May 2011) 4
One- to Four-Urrlt Propedles (psgo 6 olspagos)

 

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TH|S SECT|ON IS FCJR lNTERNAL USE ONLY

Eank of Amarlca. N.A., for itself or as successor by' merger to BAC Home Loans Servlcing. LP
By: Urban Settlement Servlces. LLC, lts attorney In fact

By: 5 / Dated: 4/2/2013

.~ rick Vigil
~ : Assista.nt Secretary

 

   

 

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Return To:

Argent Mortgage Compan¥, LLC

C/ Nationwnde Title C'earing, lnc.
2100 Alt 19 North

Palm Harbor. FL 34683

 

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gm 5271@7 MoRTG_

 

DEFINITIONS

Words used in multiple .sections of this document are defined below and other words are defined in
Section,s 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are
also provided in Section 1`6.

(A) "Security Instrument" means this document, which is dated September 26 , 2 00 6 ,

together with all Ridez's to this document
(B) "Borrower" is JAMES L HI RSING, J r.

Borrower is the mortgagor under this Security Instrument.

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(C) "Lendcr" is Argent Mor'tgage Company. LLC

lenderisa Limited Liabil'lty Company

organized and existing under the laws of De'| aware

lender‘saddressisS park Plaza - 10th Floot~ Irv'lne. CA 92614

Lender is the mortgagee under this Security Instrument.

~(D) "Note" means the promissory note signed by Borrower and dated September' 26 ,- 2006

The Note states that Borrower‘owes lender one hundred four thousand ft ve hundred

fifty and 00./100 Dollars
(U. S. $ 104, 550. 0 0 ) plus interest. Borrower has promised to pay this debt in regular Periodic
Payments and to pay the debt m full not later than October‘ 1 2036

(E) "Property" means the property that' is described below under the heading "Transfer of Rights in the
Property. "

(F} "Loan" means the debt evidenced by the Notc, plus interest, any prepayment charges and late charges
due under the Note, and all sums due under this Security Instrument, plus interest.

(G) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
Riders are to be executed 'by Borrower [check box as applicable]:

l:] Adjustable trace Rider ij condominium aider [j second nom Rider
i::i Balloon Rider l:] Planned Unit Development Rider i::i 1-4 Family Rider
[:] VA Rider i:i Biweeidy Payment Rider |::i Other(s) [specify]

(H) "Applicuble an" means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of Iaw) as well as all applicable final,
non-appealable judicial opinions.

(I) "Community Associntion Duas, Fees, and Assessments" means all dues, fees, assessments and other
charges that are imposed on Borrower or the Property by a condominium association, homeowners
association or similar organization.

(J) "Electrordc Funds Transl`er" means any transfer of funds, other than a transaction originated by
check, draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic
instrument, computer, or magnetic tape so as to- order, instruct, or authorize a financial institution to debit
or credit an account. Such term includes, but is not limited to, point-of-sale transfers, automated teller
machine transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse
transfers

(K) "Escrow ltems" means those items that are described in Section 3.

(L) "Miscellaneous Proceeds" means any compensation, scttlement, award of damages, or` proceeds paid
by any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)
damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the
Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the
value and/or condition of the Property.

(M) "Mortgage Insurance" means insurance protecting lender against the nonpayment of, or default on,
the loan.

(N) "Periodic Paymant" means the regularly scheduled amount due for (i) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument.

(O) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
implementing regulation, Regulation X-(24 C.F.R. Part 3500), as they might .bc amended from time to
time, or any additional or successor legislation or regulation that governs the same subject matter. .As used

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in this Sccurity Instrurnent, °R.ESPA" refers to all requirements and restrictions that are imposed in regard
to a "federally related mortgage loan" even if the Loan does not qualify as a ”federally related mortgage
loan“ under RESPA.

(F) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or
not that party has assumed Borrower's obligations under the Note and/or this Security Insu'ument.

TRANSFBR OF RIGHTS IN THE PROPERTY

This Securlty lnstrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this
Security lnstrument and the Note. For this purpose, Borrower does hereby mortgage, grant and
convey to Lender and Lender‘s successors and assigns, the following described property located in the
C o u nt y [rype of according Jurlsdictlcn]
Of LAPORTE [Name ofReoording Jurisclietion] 2
EXHIBIT A ATTACHED HERETO AND MADE A PART HEREOF:

Parcel ID Number:P which currently has the address of
3517 LEXINGTO . lStre¢ll

MICHIGAN CIT‘)' [city], Indiana 46360 lth code]
("Property Address ”):

TOGBTHER WITH all the improvements now or hereafter erected on the property, and all
easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
additions shall also be. covered by -this Secnrity Instrument. -All of the foregoing is referred to in this
Security Instrument as the "Property. "

BORROWER COVENANTS that 'Borrower is lawfully seised of the estate hereby conveyed and has
the right to-mortgage, grant and-convey the Property and that the Property is unencumbered, except for
encumbrances of record. Borrower warrants and will defend generally the title to the Property against all
claims and demands, subject to any encumbrances of record.

THlS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real

property-
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UN!PORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Intercst, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Bscrow Items
pursuant to Section 3. Payments due under the Note and this Security instrument shall be made in U.S.
cnrrency. However, if any check or other instrument received by Lender as payment under the Note or this
Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments
due under the Note and this Security Instrument be made in one or more of the following forms, as
selected by Lender: (a) cash; (b) money order; (c) certified checlc, bank check, treasurer's check or
cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
federal agency, instrumentality, or entity; or (d) Electxonic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by Lender in accordance with the notice provisions in Section IS.
lender may return any payment or partial payment if the payment or partial payments are insufficient to.
bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan
current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
payments in the future, but Lender is not obligated to apply such payments at the time such payments are
-accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay
interest on unappli`ed funds. Lender may hold such unapplied funds until Borrcwer makes payment to bring
the Loan current. lf Borrower does not do so within a reasonable period of time, Lender shall either apply
such funds or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding
principal balance under the Note immediately prior to foreclosure No offset or claim which Borrower
might have now or in the future against Lender shall relieve Borrower from melting payments due under
the Note and this Security Instrument or performing the covenants and agreements secured by this Sccurity
Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
shall be applied to each Periodic Payment in the order in which it became due, Any remaining amounts
shall be applied fnst to late charges, second to any other amounts due under this Security Instrument, and
then to reduce the principal balance of the Note. ~

If'Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
the late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received
from B`orrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be
paid in full. To the extent that any excess exists after the payment is applied to the full payment of one or
more Periodic Payments, such-excess may be applied to any late charges due, Voluntary prepayments shall
be applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
under the Note, until the Note is paid in full, a sum (the "Funds ') to provide for payment of amounts due
for: (a) taxes and assessments and other items which can attain priority-over this Security Instrutnent as a
lien o_r encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any;

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(c) premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance
premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
Insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow
ltems.“ At origination or at any time during the term of the Loan, Lender may require that Community
Association Dues, Fees and Assessments, if any, he escrowed by Borrower, and su`ch dues, fees and
assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to
be paid under this Section. Borrower shall pay lender the Funds for Escrow Items unless Lender waives
Borrower's obligation to pay the Funds for any or all Escrow Items. bender may waive Borrower's
obligation to pay to lender Funds for any or all Escrow Items at any time. Any such waiver may only be
in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amo\mts
due for any Escrow Items for which payment cf Funds has been waived by Lender and, if Lender requires,
shall furnish to Lender receipts evidencing such payment within such time period as Lender may require.
Borrower's obligation to make such payments and to provide receipts shall for all purposes be deemed to
be a covenant and agreement contained in this Security Instrument, as the phrase ”covenant and agreement"
is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
Borrower fails to pay the amount due for an' Escrow Item, Lender may exercise its rights under Section 9
and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in
such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender cmi
require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
Law.

The ands shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits arc so insured) or in
any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the
Funds~and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing
cr Applicable law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest
shall be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the
thds as required by RESPA.

If there is a surplus of Funds held in escrow. as defined under RESPA, Lender shall account to
Borrower fo_r the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow,
as defined under RESPA. L_ender shall notify Borrower as required by RESPA, and Borrower shall pay to
.Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than
twelve monthly payments If there is a deficiency of Funds held in cscrow, as defined under RESPA,
Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
necessary to make up the deficiency in accordance with RESPA, but in no more than twelve monthly
payments.

Upon payment in'full of all sums secured by this Security lnstrument, lender shall promptly refund
to Borrower any Funds held by Lender.

4. Chargos; Liens. Borrower shall pay all taxes, assessments, cbarges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments or

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ground rents on the Property, if any, and Community Association Dues, Fees. and Assessments, if any. To
the extent that these items are Escrow lterns, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security lustrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith
by, or defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to
prevent the enforcement of the lien while those proceedings.are pending, but only until such proceedings
are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
the lien to this Security Insrrument. If Lender determines that any part of the Property is subject to alien
which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying the
lien. Witbin 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or
more of the actions set forth above in this Section 4.

‘Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
reporting service used by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on
the Propcrty insured against loss by fire, hazards included within the term "extended coverage,” and any
other hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance.
This insurance shall be maintained in the amounts ('mcluding deductible levels) and for the periods that
Lender requires. What~Lender requires pursuant to the preceding sentences can change during the tenn of
the I.oan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's
right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may
require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone
determination, certification and tracking services; or (b) a one-time charge for flood zone determination
and certification services and subsequent charges each time remappings or similar changes occur which
reasonably might affect such determination or certification Borrower shall also be responsible for the
payment of any fees imposed by the Federal Emergency Management Agency in connection with the
review of any flood zone determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might
not protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk,
hazard or liability and might provide greater or lesser coverage than was previously in effect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtaincd. Any amounts disbursed by Lender under this Section 5 shall
become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest
at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from
bender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
certificates If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
renewal notices. lf Borrower obtains any form of insurance coverage, not otherwise required by Lender,
for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause-and
shall name Lender as mortgagee and!or as an additional loss payee.

ln the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree
in writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall
be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and

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Lender's security is not lessened. During such repair and restoration period, Lender shall have the right m
hold such insurance proceeds until bender has had an opportunity to inspect such Property to ensure the
work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
of progress payments as the work is completed. Unless an agreement is made in writing or Applicable Law
requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such proceeds. Fees for public adjusters, or other third partiec, retained by
Bon‘ower shall not be paid out of the insurance proceeds and shall he the sole obligation of Borrower. If
the restoration or repair is not economically feasible or Lender’s security would be-lessened, the insurance
proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with
the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle a'ny available insurance
claim and related matters. If Borrower'does not respond within 30 days to a notice from Lender that the
insurance carrier has offered to settle a claim, then bender may negotiate and settle the claim. The 30-day
period will begin when the notice ~is given. ln either event, or if Lender acquires the Property under
Section 22 or otherwise, Borrower hereby assigns to bender (a) Borrower's rights to any insurance
proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and
(b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the
coverage of the Property, Lender may use the insurance proceeds either to repair or restore the Property or
to pay amounts unpaid under the Note or this Security Instrumeut, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal
residence within 60 days after the execution of this Security instrument and shall continue to occupy the
Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender
otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
circumstances exist which are beyond Borrower' s control.

7. Preservation, Maintenance and Protection of the Property; lnspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the
Property. Whether or not Borrower is residing in~ the Property, Borrower shall maintain the Property in
order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
progress payments as the work is completed. If the insm'ance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower‘s obligation for the completion of
such repair or restoration

Lender or its agent may make reasonable entries upon and inspections of the Property, If it has
reasonable cause, Lender may inspect th`e interior of the improvements on the Property. bender shall give
Borrower notice at the time of or prior to such an interior inspection specifng such reasonable cause.

8. Borrower's Loan Applieation. Borrower shall he in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
(or failed to provide Lender with material information) in connection with the Loan. Material
representations include, but are not limited to, representations concerning Borrower’s occupancy of the
Property as Borrower's principal residence

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9. Protection of Lender's interest in the Property and Rights Under this Security Instrument. If
(a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under
this Security lnstrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
the Property. Lender's actions can include, but are not limited to: (a) paying any sums secured by a lien
which has priority over this Security lnstrument; (b) appearing in court; and (c) paying reasonable
attemeys' fees-to protect its interest in the Property and/or rights under this Security Insn'ument, including
its secured position in a bankruptcy proceeding Securing the Property includes, but 'is not limited to,
entering the Property to make repairs, change locks, replace or board up doors and windows, drain water
from pipes, eliminate building or other lcode violations or dangerous conditions, and have utilities hinted
on or off. Although Lender may take action under this Section 9, Lender does not have to do so and is not
under any duty or obligation to do so. It is agreed that Lender incurs no liability for not taking any or all
actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date of
disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting

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p ymlf this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the
lease. lf Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless
Lender agrees to th'e merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage lnsurance in effect. If, for any reason,
the Mortgage lnsurance coverage required by Lender ceases to be available from the mortgage insurer that
previously provided such insurance and Borrower was required to make separately designated payments
toward the premiums for Mortgage Insurance. Borrower shall pay the premiums required to obtain
coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially
equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage is not
available, Borrower shall continue to pay to Lender the amount of the separately designated payments that
were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
non~refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be
required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer require loss
-reserve payments-if Mortgage Insurance~coverage. (in the amount and for the period that Lender requires)
provided by any insurer selected by Lender again becomes available, is obtained, and Lender requires
separately designated payments toward the premiums for Mortgage Insurance. If Lender required Mortgage
lusurance as a condition of making the Loan and Borrower was required to make separately designated
payments toward the premiums for Mortgage lnsurance, Borrower shall pay the premiums required to
maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until Lender's
requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage
Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements
are on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to
these agreements These agreements may require the mortgage insurer to make payments using any source
of funds that the mortgage insurer may have available (which may include ftmds obtained from Mortgage
Insurance premiums).

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As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
derive from (or might be characterized as) a~ portion of Borrower's payments for Mortgage lnsurance, in
exchange for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement
provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the
premiums paid to the insurer, the arrangement is often termed "captive reinsurance.” Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the amount

Borrower will owe for Mortgage Insuranc and the will not entitle Borrower to any refund.

(b) Any such agreements will not af ect the ghts Borrower has - if any - with respect to the
Mortgage Insurance. under the Homeowners Protection Act of 1998 or any other law. These rights
may include the right to receive certain disclosures to request and obtain cancellation of the
Mortgage Insurance, to .have the Mortgage insurance terminated automatically, and/or to receive a
refund of any Mortgage Insurance'premiums that were unearned at the time of such cancellation or
termination.

11. Assignm\ut of Miscellaneous Proceeds; Forfelture. All Miscellaneous Proceeds are hereby
assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
the Property, if the restoration or repair is economically feasible and bender's security is not lessened.
During such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds
until Lender has had an oppornmity to inspect such Property to ensure the work has been completed to
Lender's satisfaction, provided that such inspection shall he undertaken promptly. Lender may pay for the
repairs and restoration in a single disbursement or in a series of progress payments as the work is
completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
Miscellaneous Proceeds. lf the restoration or repair is not economically feasible or Lender's security would
be lessened, the Miscellaueous Proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
applied'in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shall be applied to the sums secured by this Security Instrument. whether or not then due, with
the excess, if any, paid-to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial talcing, destruction, or loss in value is equal to or
greater than the amount of'the sums secured by this Security Instrument immediately before the partial
taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
secured by this Security instrument shall he reduced by the amount of the Miscellaneous Proceeds
multiplied by the following fraction: (a) the total amount of the sums secured immediately before the
partial taking, destruction, or loss in value divided by (b) the fair market value of the Property

immediately before the partial'~talging, destruction, or loss _in value. An balance sh_all be paid to Bprrower.
In the event of a partial talcmg, destruction, or loss m value of e Property m which the fair market

value of the Property immediately before the partial taking, destruction, or loss in value is less than. the
amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
secured by this Security Instrument whether or not the sums are then due,

If the Property i's abandoned by Borrower, or if, after notice by Lender to Borrower that the
Opposing Party (as defined in the next sentence) offers to make an award to. settle a claim for damages,
Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized
to collect and apply the Miscellaneous 'Proceeds either to restoration or repair of the Property or to the
sums seemed by this Security Instrument, whether or not then due. ”Opposing Farty." means the third party
that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in
regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's
interest in the Property or rights under this Security Instrument, Borrower can cure such a default and, if

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acceleration has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be
dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the Property or other material
impairment of Lender's interest in the Property or rights under this Security Instrument. The proceeds of
any award or claim for damages that are attributable to the impairment of Lender's interest in the Property
are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for in Section 2.

1_2. Borrower Not Released;, Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower
or any Successors in Interest of Borrower. Lender shall not be required to connnence proceedings against
any Succeesor in Inter_est of Borrower or to refuse to extend time for payment or otherwise modify
amortization of the sums secured by this Security Instrurnent by reason cf any demand made by the original
Borrower or any Successors in lnterest of Borrower. Any forbearance by Lender in exercising any right or
remedy including, without limitation, Lender's acceptance of payments from third persons, entities or
Successors in lnterest of Borrower or in amounts less than the amount then due, shall not be a waiver of or
preclude the exercise of any right or remedy.

13. Joint and Several Liabllity; Co-signers; Successors and Assigns Bonnd. Borrower covenants
and agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
co-signs this Security Instrument but does not execute the Note (a “co-signer”): (a) is co-signing this
Security Inst:rurnent only to mortgage, grant and convey the co-signer's interest in the Property under the
terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security
Instrurnent; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or
make any accommodations with regard to t_he terms of this Security Instrurnent or the Note without the

co-signcr's consent.
Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes

Borrower's obligations under this Security Instrume_nt in writing, and is approved by Lender, shall obtain
all of Borrower's rights and benefits .under this Security Instrument. Borrower shall not _he released from
Borrower's obligations and liability under this Security Instrument unless Le'nder agrees to such release in
writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
Security Instrument, including, but not limited to, attomeys‘ fees, property inspection and valuation fees.
ln regard to any other fees, the absence of express authority in this Security lnstnnnent to charge a specific
fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender. may not charge
fees that are expressly prohibited by this Security Instrurnent or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the
charge to the permitted'limit; and (b) any sums already collected from Borrower which exceeded permitted
limits will be refunded to Borrower. lender may choose to make this refund by reducing the principal
owed under the Note or by making a direct payment to Borrower. If a refund reduces principal, the
reduction will be treated as a partial prepayment without any prepayment charge (whether or not a
prepayment charge is provided for under the Note). Borrower's acceptance of any such refund made by
direct payment to Borrower will constitute a waiver of any right of action.Borrower might have arising out
of such overcharge.

15. Noti¢:es. All notices given by Borrower or Lender in connection with this Security lnstrument
must be in writing. Any notice to Borrower in connection with this Security lnstrument shall be deemed to
have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's
notice address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrower's
unless Applicable Law expressly requires otherwise. The notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
notify Lender of Borrower‘s change of address. If Lender specides a procedure for reporting Borrower's

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change of address, then Borrower shall only report a change of address through that specified procedure.
There may be only one designated notice address under this Security lnstrument at any one time. Any
notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address
stated herein unless Lender has designated another address by notice to Borrower. Any notice in
connection with this Security Instrtuncnt shall not be deemed to have been given to Lender until actually
received by Lender. If any notice required by this Security lnstrument is also required under Applicable
Law, the Applicable Law requirement will satisfy the corresponding requirement under this Security
Instrurnent.

16. Governing Law; Severability; Rules of Construction. This Security lnstrument shall be
governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
obligations contained in this Security lnstrument are subject to any requirements and limitations of
Applicable Law. App'licable law might explicitly or implicitly.allow the parties to agree by contract or it
might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In
the event that any provision or clause of this Security lnstrument or the Note conflicts with Applicahle
Law, such conflict shall not affect other provisions of this Security lnstrument or the Note which can be

given effect without the conflicting provision. _
As used in this Security Insl:rument: (a) words of the masculine gender shall mean and include

corresponding neutcr words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to
take any action.

17. Borrower's Copy. Borrower shall bc given one copy of the Note and of this Security Instrument.

18. Trausfer of the Property or a Benet`icial Interost in Borrower. As used in this Section 18,
"Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract for decd, installment sales contract or
escrow agreemcnt, the intent of which is the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior ~
written cousent, Lender may require immediate payment in full of all sums secured by this Security
lnstrumeut. However, this option shall not be exercised by Lender if such exercise is prohibited by
Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security lnstrument without further notice or demand on Borrower.

19. Borrower‘s nght to Reinstatc After Acceleration. lf Borrower meets certain conditions,
Borrower shall have the right to have enforcement of this Security lnstrument discontinued at any time
prior to the earliest of: (a) live days before sale of the Property pursuant to Section 22 of this Secm'ity
Instrument; (b) such other period as Applicable Law might specify for the termination of Borrower's right
to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those conditions are that
Borrower: (a) pays Lender all sums which then would be due under this Security lnstrument and the Note
as if no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all
expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys'
fees, property inspection and valuation fees, and other .fees incurred for the purpose of protecting Lender's
interest in the Property and rights under this~Security Instnunent; and (d) takes such action as Lender may
reasonably require to assure that Lender's interest in the Property and rights under this Security
lnstrument, and Borrower's obligation to pay the sums secured by this Security lnstrument, shall continue
unchanged Lender may require that Borrower pay such reinstatement sums and expenses in one or more of
the following forms, as selected by lender: (a) cash; (b) money ordcr; (c) certified check, bank check,

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treasurer's check or cashier's check, provided any such check is drawn upon an institution whose deposits
are insured by a‘ federal agency, instrumentality or entity; or (d) Electronie Funds Transfer. Upon
reinstatement by Borrower. this Security lnstrument and obligations secured hereby shall remain fully
effective as if no acceleration had occurred. However, this right to reinstate shall not apply in the case of
acceleration under Section 18.

20. Sale of Note; Chaoge of Loan Servicer; Noiice of Grievance. The Note or a partial interest in
the Note (together with this Security Instrument) can be sold one or more times without prior notice to
Borrower. A sale might result in a change in the entity (known as the "l.oan Servicer") that collects
Periodic Payments due under the Note and this Security lnstrument and performs other mortgage loan
servicing obligations under the Note, this Security Instrnment, and Applicable Law. There also might be
one or more changes of the Loan Servicer unrelated to a sale of the Note. Ii" there is a change of the Loan
Servicer, Borrower will be given written notice of the change which will state the name and address of the
new Loan Servicer, the address to which payments should be made and any other information RESPA
requires in connection with a notice of transfer of servicing. lf the Note is sold and thereafter the Loan is
serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchascr.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or. the member of a class) that arises from the other party‘s actions pursuant to this
Security lnstrument or that alleges that the other party has breached any provision of, or any duty owed by
reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with such
notice given in compliance with the requirements of Section 15). of such alleged breach and afforded the
other party hereto a reasonable period after the giving of such notice to take corrective action. If
Applicable Law provides a time period which must elapse before certain action can be taken, that time
period will be deemed to be reasonable for purposes of this psragraph. The notice of acceleration and
opportunity to cure given to Borrower pursuant to 'Section 22 and the notice of acceleration given to
Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Section 20.

21. Hazardous Substancas. As used in this Section 21: (a) "Hamrdous Substances“ are those
substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
following substances: gasolinc, kerosene, other flammable or toxic petroleum products, toxic pesticides
and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
(b) “Environmental law" means federal laws and laws of the jurisdiction where the Property is located that
relate to health, safety or environmental protection; (c) "Environmental Cleanup” includes any response
action, remedial action, or removal action, as defined in Environmental Law; and (d)l an "Environmental
Condition" means a- condition that can cause, contribute to, or otherwise trigger an Environmental
Cleanup.

Borrower shall not cause or permit the presence, usc, disposal, storage, or release of any ‘Hazardous
‘Substances, or threaten to release any Hazardous Substances, on or in the Property, Borrower shall not do,
nor allow anyone else to do, anything affecting the Property (a) that is in violation of any anironmentai
Law, (b) which creates an Environmentai Condition, or (c) which, due to the presence, usc, or release of a
Hazardous Substance, creates a condition that adversely affects the value of the Property, The preceding
two sentences shall not apply to the presence, usc, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance of the Property (including, but not limited to, hazardous substances in consumer products).

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Borrower shall promptly give Lender written notice of (a) any investigation, clairn, dcmand, lawsuit
or other action by any governmental or regulatory agency or private party involving the Property and any
Hazardous Substance or Environmental Law of which Borrower has actual knowledgez (b) any
Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of
release of any Hazardous Substanee, and (c) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affects the value of'the Property, lf Borrower learns, or is notified
by any governmental or regulatory authority, or any private party, that any removal or other remediation
of any anardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
Lender for an Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedias. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security lnstrument (but not prior to
acceleration under Section 18 unless Applicahle Law provides otherwise). The notice shall specify: (a)
the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the date
the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
default on or before the date specified in the notice may rault in acceleration of the sums secured by
this Security Instrument, foreclosure by judicial proceeding and sale of the Property. The notice shall
further inform Borrower of the right to reinstate after acceleration and the right to assert in the
foreclosure proceeding the nonexistence of a default .or any other defense of Borrower to acceleration
and foreclosure Il` the default is not cured on or before the date specified in the noticc, Lender at its
option may require immediate payment in full of all sums secured by this Security lnstrument
without further demand and may foreclose this Security lnstrument by judicial proceeding Lender
shall be entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22,
including, but not limited to, reasonable attomeys' few and costs of title evidcncc.

23'. Release. Upon payment'of. all sums secured by this Security Instrnmeut, Lender shall release this
Security lnstrument. Lender may charge'Borrower a 'fee for releasing this Security Instrumcnt, but only if
the fee is paid to a third party for services rendered and the charging of the fee is permitted under
Applicable law.

24. Walver of Valuation and Appraisement. Borrower waives all right of valuation and
appraisement.

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BY SIGNING BBLOW, Borrower accepts and agrees to the terms and covenants contained in this
Security lnstrument and in any Rider executed by Borrower and recorded with it.

 

 

 

 

 

 

 

 

 

 

Witnesses:
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-Borrowcr
(Seal) (Seal)
-Borrower -Bonower
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On this g 6 day of j"EfT'E/`l\DER RGUG before me,
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the undersignedl a Notary Pub|io in and for said county, personally appeared

 

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and-acknowledged the execution of the foregoing instrument

OFFICIAL SEAL
WlTNESS my hand and official seal. PATR|CK D. BEF{GS

NOTAHY Pusuc sEAL
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1 _.' ".-.` " K@n'.le.§i Hoffman

j ’ `2550'C§olf Road, East Tower, 101h Floor,Rolling Meadows, |L 60008

l afiirm, under the penalties for perjury, that
l have taken reasonable care to redact each
social security number ln this document,
unless required by law.

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Appendix A

LOT 6 _IN BLOCK 6 IN VILLAGE GR.EEN SUBDIV]SION FIRST ADDITION l`N THE ClTY OF MICHIGAN
CI'I'Y, INDIANA AS R.ECORDED IN PLATE BOOK 1 1 PAGE 152 IN THE OFFICE OF THE RBCORDER.
OF LAPORTE COUNTY, INDIANA.

SUBJECT TO COVENANTS, CONDI'I'IONS, RBSTRfCT'IONS AND EASEMENTS OF RECORD AND
SUBIECT TO ALL ZONUG ORDINANCES.

PCELARNUMBER=_'

COMMONLY KNOWN AS: 3517 LEX]NGTON ROAD, MICHIGAN ClTY, INDIA.NA 46360

